Case 2:04-cV-02398-.]P|\/|-de Document 14 Filed 04/20/05 Page 1 of 3 Page|D 27

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IN THE UNITED sTATEs DISTRICT coURT Fm*
FoR THE wEsTERN DISTRICT oF TENNESSEE

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ToRY LAMONT sHAw, JR., a minor vio,oFTN,MtMP

by next friend, and guardian,
KENSI-IIA JEFFERSON,

Plaintiff,
v. No. 04-2398 Ml/V
LA PETITE ACADEM'Y, INC.,

Defendant.

 

ORDER GRANTING MOTION TO AMEN"D SCHEDULING ORDE`R
AND
ORDER RESETTING TRIAL DATES

 

Before the Court is the parties' joint motion to amend the
scheduling order, filed January 28, 2005. Good cause having been
shown, the Court GRANTS the motion and amends the scheduling
order to reflect the dates contained in the motion. The
provisions in the motion concerning mediation, however, shall not
be adopted into the current scheduling order. In addition, the
Court RESETS the trial dates in this case as follows:

Trial: The Jury trial in this matter is set to begin: Tuesdayc
September 6, 2005, at 9:30 a.m. in courtroom no. 4.
Pretrial Conference: A pretrial conference is set for Mondayc

Auqust 29, 2005, at 8:45 a.m.

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Case 2:04-cV-02398-.]P|\/|-de Document 14 Filed 04/20/05 Page 2 of 3 Page|D 28

Pretrial Order: The pretrial order and proposed jury instructions
and voir dire questions are due by no later than 4:30 p.m. on

Mondav, August 22, 2005.

So ORDERED this lith day of April, 2005.

9 mill

JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02398 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

